               Case
               Case 5:20-mj-71564-MAG
                    1:20-mj-01879-SCY Document
                                      Document 83 Filed
                                                  Filed 11/05/20
                                                        11/05/20 Page
                                                                 Page 11 of
                                                                         of 22




 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division                                                   Nov 05 2020

 4 ANDREW LIAO (CABN 271219)
   Assistant United States Attorney
 5
          150 Almaden Boulevard, Suite 900
 6        San Jose, California 95113
          Telephone: (408) 535-5063
 7        FAX: (408) 535-5066
          andrew.liao@usdoj.gov
 8
   Attorneys for the United States of America
 9
                                    UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN JOSE DIVISION
12

13   UNITED STATES OF AMERICA,                       ) NO. CR 20-71564-MAG
                                                     )
14           Plaintiff,                              ) NOTICE OF DISMISSAL
                                                     )
15      v.                                           )
                                                     )
16   KAYLIN ALLYSSA COHOE,                           )
                                                     )
17           Defendant.                              )
                                                     )
18

19           With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the United
20 States Attorney for the Northern District of California dismisses the above criminal complaint and arrest

21 warrant against Kaylin Allyssa Cohoe without prejudice.

22
     DATED: November 5, 2020                                    Respectfully submitted,
23
                                                                DAVID L. ANDERSON
24                                                              United States Attorney
25
                                                                       /s/
26                                                              HALLIE HOFFMAN
                                                                Chief, Criminal Division
27

28

     NOTICE OF DISMISSAL
     NO. CR 20-71564-MAG______                                                                v. 7/10/2018
            Case
            Case 5:20-mj-71564-MAG
                 1:20-mj-01879-SCY Document
                                   Document 83 Filed
                                               Filed 11/05/20
                                                     11/05/20 Page
                                                              Page 22 of
                                                                      of 22




 1         Leave is granted to the government to dismiss the criminal complaint and arrest warrant against

 2 Kaylin Allyssa Cohoe.

 3

 4 Date: November 5, 2020                                    _________________________________
                                                             Hon. Virginia K. DeMarchi
 5                                                           United States Magistrate Judge
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     NOTICE OF DISMISSAL
     NO. CR 20-71564-MAG______                                                             v. 7/10/2018
